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NVB 3001 (Effective 1/21)
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA id eel els
Fad Wa td ae Be
Name of Debtor: Case Number:
Meta Motegials \ne. [2450792
1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the 0) Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to RECEIVED
; your interest. Attach copy of statement i
Vle nelin Sterancv giving particulars. AND FILED
. 01 Check box if you h: ived ~-
TO38S Kawmrilo <t. way atte nen be tonkeptgreoatee | DEC -9 2024
the Debtors in this case.
Honolulu AE i 6ELS C1 Check box if this address differs fr US. BAN OOM oorrk
eck box s address differs fro:
308 2 dy - D the address on the envelope sent to you A RY A. SCH ,
OS As Li Li 4 the Debtors.

NOTE: This form SHOULD NOT be used to make a claim: against ‘the Debtor for money ‘owed. A’ separate Proof of Claim.
- forni should be used for that purpose. » This form should only he used to assert an 1 Equity Interest in tlie Debtor. An Equity:

Interest is; any right arising: ‘from any. capital stock ‘and. any equity security i in any | 7 of the Debtor. An‘ uity. security:i is: defined -
. in the ‘Bankruptcy Code: ‘as (a) a share in a corporation whether of not transferable or denominated stock or similar .

: COURT USE ONLY

. Security, (b) interest of a limited partner i in a limited parmership, or (c) warrant or right other than‘a right to convert, to to
- purchase, sell, or subscribe to a share, security; or interest’ ofa a kind d specified ix in ‘subsection @)<« or r (b)herein. - ee

‘Account or other pumber by which Interest holder identifies Debtor: ~Cheok here if this “claim:

C1 rep: ly filed Proof of Interestdated:_

RBivwor 688909759 Coad oe et Pt irene

2. Name and Address of any person or entity that is the record holder for 3. _ Date Equity Interest was acquired.

ne Eq ity Interest asserted in this Proof of Interest: FIRST TRE n Buy O2//E (2p2I
Rob roo 8S Willow Pah pee |PiRaT Iatnar Bp "(01/202
8 Bare ,C .
Telephone Number: La TT
i 161 7784 ST MMAT Buy 1(25)]2024
ount of me pee Bs it, R 6 14 5. Certificatenumber(s): SeQ ATTAC hao of OCG MILTS
we the USAUG Sik unde Fucvity) fouk

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
Mi Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check thjs box if your Equity Interest is based on anything else and describe that interest:
Description:__\ A 25°FO Q_.

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS, If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. - Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

‘Interest.
9. Signature:
Check the appropriate box.
I am the creditor. 011 am the creditor’s authorized agent. 0 I am the trustee, or the debtor, [ I am a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: Vene li ny SH LC LFAWW

Title:
Company:__ Address and telephone number (if different from notice a /} 3 / 20 24
address above): (Signature ' (Date)

Telephone number: os4aa 3 “ay teil ity S & (@yq)ooqon,

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571

mei ~ Clear Form

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Robinhood #

85 Willow Rd, Menlo Park, CA 94025
help@robinhood.com

Aceount Summary
Net Account Balance
“Total Securities

Portfolio Value

Income and Expense Summary
Dividends
Capital Gains Distributions

Interest Earned

Case 24-50792-hlb

Opening Balance

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02/01/2021 to 02/28/2021
Venelin Stefanov Account #:682909759
7035 Kamilo St, Honolulu, Hl 96825

@ Options Equities ta Cash and Cash Equivalents

Portfolio Allocation
Closing Balance

$0.00 $0.20
$2,638.47 $22,732.93 Cash and Cash
® Equivalents
0.00%
$2,638.47 $22,733.13
e Equities
100.00%
This Period Year to Date  OPtions
0.00%
$0.00 _ $0.00
$0.00 $0.00
$0.00 $0.00

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.
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Portfolio Sumraary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
eh otedt Velde 00% BNGO Margin 263.476121 $9.73 $2,563.62 $0.00 11.28%
Castor Maritime .

Fetimated Yield: 0.00% CTRM Margin 3,211.708881 $1.00 $3,208.50 $0.00 14.11%
Genius Brands GNUS . 2 5
Fatimated Vield: 0.00% G Margin ,040.816325 $1.70 $3,469.39 $0.00 15.26%
Globalstar cs : a 9
Fatimated Yiekd: 0.00% AT Margin 1,874.914512 $1.77 $3,318.60 $0.00 14.60%
ed Vath bok MARA Margin 103,569568 $30.15 $3,122.62 $0.00 13.74%
el 0.00% NNDM Margin 133.422281 $9.84 81,312.88 $0.00 5.78%
See eld: 0.00% SENS Margin 36.259007 $3.42 $124.01 $0.00 0.55%
Sirus XM .

Ss a Yield: 0.93% sip Margin 1 $5.85 $5.85 $0.05 0.03%
Sundial Growers SNDL .

Fatimated Yield: 0.00% Margin 2,141.216071 $1.33 $2,847.82 $0.00 12.53%
SOS Limi _ .

eo ol d: 0.00% 80S Margin 437.641167 $4.77 $2,087.55 $0.00 9.18%
eg Soom TRCH Margin 271.003093 $2.48 $672,09 $0.00 2.96%
Total Securities $22,732.93 $0.05 100.00%
Brokerage Cash Balance $0.20 0.00%
Total Priced Portfolio $22,733.13
Account Activity

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Description Symbol Acct Type Transaction Date Qty Price Debit Credit
Meola cust p: 630086203 NNDM Margin Buy 02/17/2021 133.422281 $14.99 $2,000.00

Une pita CUSIP: 138036100 Gc Margin Sell 02/18/2021 1 $40.00 $40.00
Dea Susi p: 138035100 CGC Margin Sell 02/18/2021 1 $40.01 $40.01
Unschited CUS! P: 138038100 CGC Margin Sell 02/18/2021 1 $40.01 $40.01
ee aus 2: 138035100 ccc Margin Sell 02/18/2021 23 $40.01 $920.20
Oe ae SUSI P: 138035100 CGC Margin Sell 02/18/2021 2 $40.01 $80.02
Bee eel P: 138035100 cee Margin Sell 02/18/2021 1 $40.00 $40.00
Bee eg Cusie: aposeia0 cee Margin Sell 02/18/2021 1 $40.00 $40.00
Dee hee CuiSIP: 138035100 GGG Margin Sell 02/18/2021 5 $40.00 $200.00
Op a CUSI a cee Margin Sell 02/18/2021 0.174037 $40.01 $6.96
Dead BUSI >: YI146L109 CTRM Margin Buy 02/18/2021 1,315.789473 $1.14 $1,500.00

Genius Brands p: 372207301 GNUS Margin Buy 02/18/2021 1,530.612244 $1.96 $3,000.00

Genius Brands p- 372297301 GNUS Margin Buy 02/18/2021 510.204081 $1.96 $1,000.00

Trchgh En CURIP: B91O2U103 TRGH Margin Buy " o2/g/2021 269.905533 " $3.69 $995.95

Toreblight Energy Resources TRCH Margin Buy 02/18/2021 1.09758 $3.69 $4.05

Unsolicited, CUSIP: 89102U103

Robinhood #

85 Willow Rd, Menlo Park, CA 94025
help@robinhood.com

Account Summary
‘Net Account Balance
Total Securities

Portfolio Value

Income and Expense Sumrnary
Dividends
Capital Gains Distributions

Interest Earned

Case 24-50792-hlb

Opening Balance

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05/01/2021 to 05/31/2021
Venelin Stefanov Account #:682909759
7035 Kamilo St, Honolulu, Hi 96825

Options m Equities ta Gash and Cash Equivalents

Portfolio Allocation
Closing Balance

$52.55 $30.05
$30,976.23 $29,151.79 Gash and Cash
8 Equivalents
0.10%
$31,028.78 $29,181.84
a Equities
99.90%
This Period Year to Date __ © Options
0.00%
$0.01 $0.01
$0.00 $0.00
$0.00 $0.00

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Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
Bionano Genomics . -

Estimated Yield: 0.00% BNGO Margin 399,791019 $6.17 $2,466.71 $0.00 8.45%
Gastor Maritime .

Estimated Yield: 0.00% CTRM Margin 679 $3.05 $2,070.95 $0.00 7.10%
Genius Brands GNUS Margi 2,040.816325 81.76 9
Estimated Yield: 0.00% argin 040. . $3,591.84 $0.00 12.31%
Globalstar GSAT Margi 1,874.914512 1.60 9
Estimated Yield: 0.00% argin 1874. $1. $2,999.86 $0.00 10.28%
Luokung Technology LKCO Maral 802.7012 9 9
Estimated Yield: 0.00% argin 70721 $1.4 $1,196.02 $0.00 4.10%
Marathon Digital .

Eethnated Yeti: 0.00% MARA Margin 132.231303 $24.77 $3,275.37 $0.00 11.22%
NIO NIO Margin 67,7208 $38.62 2,601.91 9
Estimated Yield: 0.00% g $2,601. $0.00 8.92%
Nano Dimension . .

Estimated Yield: 0.00% NNDM Margin 1383.422281 $7.10 $947.30 $0.00 3.25%
Sirius XM .

Estimated Yield: 0.89% SIRI Margin 1 $6.25 $6.25 $0.06 0.02%
Sundial Growers SNDL Marai 3.010 97 9
Estimated Yield: 0.00% argin ,010.781288 $0. $2,920.46 $0.00 10.01%
SOS Limited .

Estimated Yield: 0.00% SOS Margin 437641167 $3.37 $1,474.85 $0.00 5.05%
Torchlight Energy Resources .

Estimave 4 Veh 0.00% TRCH Margin 2,353.05361 $2.38 $5,600.27 $0.00 19.19%
Total Securities $29,151.79 $0.06 99.90%
Brokerage Cash Balance $30.05 0.10%

Total Priced Portfolio

$29,181.84
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Robinhood #

85 Willow Rd, Menlo Park, CA 94025 06/01/2021 to 06/30/2021
help@robinheod.com VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, Hl 96825

@ Options mw Equities i Gash and Cash Equivalents

Portfolio Allocation

Account Summary Opening Balance Closing Balance
Net Account Balance $30.05 $0.67
Total Securities $29,151.79 $40,297.42 Gash and Gash
% Equivalents
. 0.00%
Portfolio Value $29,181.84 $40,298.09
e Equities
100.00%
income and Expense Summary This Period Year to Date Options
2
0.00%
Dividends $0.00 $0.01
Capital Gains Distributions $0.00 $0.00
Interest Earned $0.00 $0.00

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Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
. Genomi
ener “vicki: ©00% BNGO Margin 399.791019 $7.33 $2,930.47 $0.00 7.27%
Castor Maritime .
Estimated Viele 0.00% CTRM Margin 679 $2.60 $1,768.80 $0.00 4.39%
Globalstar . :
Eatimated Yield: 0.00% GSAT Margin 1,874,914512 $1.78 $3,337.35 $0.00 8.28%
Luokung Technology LKCO .
Estimated Yield: 0.00% Margin 4,051.5894 $2.53 $10,250.47 $0.00 25.44%
wait
Marathon Dig al 0.00% MARA Margin 66,369241 $31.37 $2,082.00 $0.00 5.17%
Meta Materials .
Estimated Yield: 0.00% MMAT Margin 1,653 $7.49 $12,380.97 $0.00 30.72%
NIO NIO ,
Estimated Yield: 0.00% Margin 67.37206 $53.20 $3,584.19 $0.00 8,89%
Di i .
eich 0.00% NNDM Margin 133.422281 | $8.24 $1,099.40 $0.00 2.73%
Sirius XM .
Estimated Yield: 0.88% SIRI Margin 1 $6.54 $6.54 $0.06 0.02%
Sundial G
Estimated Yield: 0.00% SNDL Margin 3,010.781288 $0.95 $2,857.23 $0.00 7.09%
Total Securities $40,297.42 $0.06 100.00%
Brokerage Cash Balance $0.67 0.00%

Total Priced Portfolio

$40,298.09
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Account Activity

Description Symbol Acct Type Transaction Date Qty Price Debit . Credit

ADR Fee: R/D 2021-04-30 P/D 2021-06-03 ~ 67.372060 shares at 0.02 NIO Margin AFEE 06/03/2021 $1.35

Gold Fee _ Margin GOLD 06/04/2021 oO $5.00

CIL on 0.8718 $3.27 -CTRM ’ . CTRM Margin CIL 06/07/2021 . u . - $4.21

ACH Deposit , Margin ACH 06/17/2021 $4,500.00
. buokung Technology , . LKCO Margin ‘By . 06/15/2021 0.17847 $2.12 $0,37

Luokung Technology og . . LKCO Margin Buy 06/15/2021 941 $2.12 $1,999.63

Unscligted: aasiP: ses7asiog a oe . MARA Margin Sell 06/15/2021 0.018441 - $30.7 $0.53

Ceo ed etaslD: soseaioe , | MARA Margin - Sell. oesis/2021 65.843621 $30.37 $1,999.41

Unsolicited, CUSIP: 372207301 GNUS Margin Sell 06/16/2021 —_—-2,040.816325 $1.99 _ $4088.22

S08 Limited g3sa7wi0e . $08 Margin Sell 06/16/2021 437.841187 $3.73 "$1,692.60

Unselisted, CUSIP: 891020103 _—TRGH Margin Buy 06/16/2021 500 $6.08 $3,012.70

Deh ted eee eo 100103 . Oo TRCH Margin Buy . 08/16/2021 163.7585 $6.03 $98730

Torchight Energy Resouress . oo TROH Margin Buy 06/16/2021 290.7437 . $5.92 . $1,721.00

Luokung Technology. sgatt0s . LKCO Margin Buy 06/17/2021 2,290.076335 $1.95 $4,465.65

Drostieged Gusts Gseo sos . LKCO Margin Buy oerre02 176153846 $1.95 $34.35

Meta Materials . Margin SPR 06/28/2021 1,653

Unsolicited, GUSIP: 59134N104

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important Information

Robinhood Secutities, LLC ("RHS") carries your account as the clearing
broker by arrangement with your introducing broker-dealer, Rabinhood
Financial LLC (“RHF”). If this is a margin account and we maintaina special
miscellaneous account for you, this is a combined staternent of your general
account and special miscellanecus account maintained for you under
Regulation T issued by the Board of Governors of the Federal Reserve
System. The permanent record of the special miscellaneous account as
required by Regulation T is available for your inspection at your request.

The per annum rate of interest charged on debit balances in your account is
shown on this statement. This rate may change from time to time in
accordance with fluctuations in interest rates. Interest is computed from the
Ist day of the month to the last day of the month. The interest is based on the
average daily balance in your account with us, and for the actual number of
days based on an interest year of 360 days. When calculating margin
interest, free credit balances in all accounts will be offset against any debit in
the margin accaunt and the interest will be charged on the new debit balance.

We are required to report to the Internal Revenue Service all cash dividends
and interest credited to your account on securities held for you in our name.
All dividends and interest credits should be included in your income tax
return.

information relative to fees and any other charges incurred in connection with
listed option transactions occurring during the month has previously been
furnished to you in confirmation of such transactions. A summary of the
information will be made available to you promptly upon request. Exercise
assignment notices for option contracts are allocated armong customer short
positions pursuant to a manual procedure which randomly selects from
amongst all customer short option positions including those contracts which
are subject to exercise. All short American style option positions are fiable for
assignment at any time whereas European style options are assigned at
expiration. A more detailed description of our random allocation procedure is
available upon request.

You are to promptly advise Robinhood of any material changes concerning
your investment objectives or financial situation by updating your information
using the Robinhood platform or by contacting help@rebinhoed.com,

Our financial statement is available for your personal inspection; it can also
be emailed to you upon request.

RHS is a Member of SIPC, which protects securities customers of its
members upto $500,000 (including $250,000 for claims for cash).
Explanatory brochure available upon request or at www. sipe. org.

Any free credit balances represent funds payable upon demand which,
although properly accounted for on our books and records, is not segregated,
and may be used in the conduct of this firm's business as permissible under
the SEC Rule 15¢3-2.

Notice to Customers

RHS acts as clearing agent for your trades. Your account, which was
introduced to us by RHF, is established under your name ona “fully disclosed”
basis at RHS. You remain a customer of RHF.

As required, under SEC rules, both the Firm's Order Routing Report as well as
information regarding specific order routing information is available free of
charge upon request.

As a clearing agent, we provide securities clearance and may provide order
execution based on RHF instructions. RHS will not be involved with or have
any responsibility for decisions regarding securities transactions in your
account. RHF will be responsible for opening, approving and monitoring all
activities in connection with your account. The entry of orders and any
instructions regarding the deposit or withdrawal of securities or monies
should be made through RHF.

In addition to the above mentioned services, RHS will provide cashiering
services, safeguarding of funds and securities while in our possession,
monitoring compliance with applicable credit Regulation T and RHS internal
policies, preparing and making accessible your account records (including
transaction confirmations and periodic statements of your account).

The dividend totals reflected in the Income and Expense Summary are
inclusive of both taxable and non-taxable dividends.

Interest charges to your account may be based on the size and net debit
balance during the interest period. These rates are subject to revision without
notice in accordance with any changes in the broker call loan rate, as
published in the Wall Street Journal. For more complete information regarding
interest charges to customers, consult the RHF Fee Schedule, available at
hitps://robnhd.co/fees.

We also offer Robinhood Cash Management as an additional feature of your
account. Robinhoad Gash Management includes debit card access to your
account and automatic sweep of uninvested cash to bank deposits. If you
participate in Robinhood Gash Management, your use of the debit card, and
your rights with respect to debit card transactions, will be governed by the
Robinhood Debit Card Agreement, which has been provided to you and is
available at https://rbnhd.co/debit-card-agreement.

In case of errors or questions about your electronic transfers, including your
debit card transactions, or if you think your statement or receipt is wrong or if
you need more information about a transaction listed on the statement or
receipt, email Robinhood at help@robinhood.com. Robinhood must hear from
you no later than sixty (60) days after you were sent the FIRST statement on
which the problem or error appeared.

A. Tell Robinhood your name and account number.

B. Describe the error or the transfer you are unsure about, and
explain as clearly as you can why you believe it is an error or
why you need more information,

GC, Tell Robinheod the dollar amount of the suspected error.

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Robinhood will investigate your complaint and will correct any error promptly,
If we take more than ten (10) business days to do this, we will credit your
account for the amount you think is in error, so that you will have the use of
the money during the time it takes Robinhood to complete our investigation.

If you participate in Robinhood Cash Management, your uninvested cash is
swept into accounts at FD/C-insured program banks, where your uninvested
cash will earn interest from the program banks and be eligible for FDIC
insurance up to applicable limits, subject to FDIC rules. Please see the
Robinhood Securities, LLC & Robinhood Financial LLC Insured Network
Deposit Sweep Program Disclosures, available at https://robnhd. co/ind-
disclosure, for the terms and conditions of this sweep program, including
information regarding FDIC insurance coverage.

RHF and RHS are members of the Financial Industry Regulatory Authority, Inc.
("FINRA"), and we are required to inform you of the availability of the FINRA
Investor Brochure, which contains information on FINRA BrokerCheck. You
may contact FINRA at 800-289-9999 or via their website www. finra.org.
RHS carries your account and acts as your custodian for funds and securities
deposited with us directly by you, through RHF as a result of transactions we
process to your account. Any suspected inaccuracy or discrepancy in your
account statement must be promptly reported to RHF. In order to protect your
tights, please confirm any oral communications in writing and include your
brokerage account number. General inquiries or concerns regarding your
account should be directed to: help@robinhood.com.

The SEG requires all broker-dealers that route orders in equity securities and
options to make available quarterly reports that present a general overview of
their routing practices. The reports must identify the significant venues to
which customer orders were routed for execution during the applicable
quarter and disclose the material aspects of the broker-dealers relationship
with such venue. In addition, the Rule (SEC 606) requires broker-dealers to
disclose, upon customer request, the venues to which the individual
customer's orders were routed for the six months prior to the request, and
the execution time for the orders that were executed. For further information,
please contact RHF.

Statement of Financial Condition

Robinhood Securities, LLC. audited Statement of Financial Condition as of
December 31, 2020 is available on the Company's website at

www. robinhood.com/legal. A paper copy may be requested at no cost by
calling 1-(800)-282-1327. On December 31, 2020, Robinhood Securities,
LLC. had a net capital of $554,391,618, which was $486,817,019 in excess
of its required net capital of $67,574,599.

PLEASE RETAIN THIS STATEMENT AS IT WILL BE HELPFUL IN PREPARING
YOUR INCOME TAX RETURNS AND MAY BE NEEDED ALONG WITH
SUBSEQUENT STATEMENTS TO VERIFY INTEREST CHARGES IN YOUR
ACCOUNT. THIS STATEMENT SHALL BE DEEMED CONCLUSIVE UNLESS
OBJECTED TO IN WRITING WITHIN 10 BUSINESS DAYS.

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‘« tn Case 24-50792-hlb Doc527 Entered 12/10/24 16:17:29 Page 11 of 39 Page 1 of 4

Robinhood #7

85 Willow Rd, Menlo Park, CA 94025 07/01/2021 to 07/31/2021
help@robinhood.com VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, HI 96825

if Options w Equities i Cash and Cash Equivalents

Portfolio Allocation

Account Summary Opening Balance Closing Balance
Net Account Balance $0.67 $12.80
Total Securities , $40,297.42 $26,517.78 Cash and Gash
® Equivalents
. 0.05%
Portfolio Value $40,298.09 $26,530.58
e Equities
99.95%
income and Expense Summary This Period Year to Date ., Options
" 0.00%
Dividends : $0.00 $0.01
Capital Gains Distributions $0.00 $0.00
Interest Earned $0.00 $0.00

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Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
Bionano Genomics .

Estimated Yield: 0.00% BNGO Margin 399.791019 $5.93 $2,370.76 $0.00 8.94%
Castor Maritime .

Estimated Yield: 0.00% CTRM Margin 679 $2.08 $1,412.32 $0.00 5.32%
Globalstar .

Estimated Yield: 0.00% GSAT Margin 1,874.914512 $1.38 $2,587.38 $0.00 9.75%
Luokung Technolo .

Estimated viele 0 G0% LKCO Margin 4,051.5694 $1.52 $6,158.39 $0.00 23.21%
Marathon Digital .

Estimated Yield: 0.00% MARA Margin 66.369241 $27.63 $1,833.78 $0.00 6.91%
Meta Materials +

Estimated Yield: 0.00% MMAT Margin 1,653 $3.50 $5,785.50 $0.00 21.81%
MMAT Preferred Shares .

Estimated Yield: 0.00% MMAT-A Margin 3,307 $0.01 $33.07 $0.00 0.12%
NIO .

Estimated Yield: 0.00% NIO Margin 67.37206 $44.68 $3,010.18 $0.00 11.35%
Nano Dimension .

Estimated Yield: 0.00% NNDM Margin 132.123049 $6.33 $836.34 $0.00 3.15%
Sirus XM .

Estimated Yield: 0.89% SIRI Margin 1 $6.47 $6.47 $0.06 0.02%
Sundial Growers . ,

Estimated Yield: 0.00% SNOL Margin 3,010.781288 $0,82 $2,483.59 $0.00 9.36%
Total Securities $26,517.78 $0.06 99.95%
Brokerage Cash Balance $12.80 0.05%

Total Priced Portfolio

$26,530.58
*

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Account Activity

Description Symbol Acct Type Transaction Date Qty Price Debit Credit

CiL on 0.763 @ $9.34 - MMAT MMAT Margin GIL 07/06/2021 $2.13

Gold Fee Margin GOLD 07/06/2021 $5.00

MMAT Preferred Shares +

Unsolicited, CUSIP: 59134N203 Margin SOFF 07/07/2021 3,307

Nano Dimension “

Unsolicited, CUSIP: 630086203 NNDM Margin Sell 07/06/2021 0.003896 $7.70 $0.03

Nano Dimension :

Unsolicited, CUSIP: 630086203 NNDM Margin Sell 07/06/2021 1.295336 $7.70 $9.97

Total Funds Paid and Received $5.00 $17.13

Executed Trades Pending Settlement

These transactions may not be reflected in the other summaries

Description Acct Type Transaction Trade Date Settle Date Gty Price Debit Credit
$0.00 $0.00

Total Executed Trades Pending Settlement
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important Information

Robinhood Securities, LLC (“RHS") carries your account as the clearing
broker by arrangement with your introducing broker-dealer, Robinhood
Financia! LLG ("RHF"). If this is a margin account and we maintaina special
miscellaneous account for you, this is a combined statement of your general
account and special miscellaneous account maintained for you under
Regulation T issued by the Board of Governors of the Federal Reserve
System. The permanent record of the special miscellaneous account as
required by Regulation T is available for your inspection at your request.

The per annum tate of interest charged on debit balances in your account is
shown on this statement. This rate may change from time to time in
accordance with fluctuations in interest rates. Interest is computed from the
Ist day of the month to the last day of the manth. The interest is based on the
average daily balance in your account with us, and for the actual number of
days based on an interest year of 360 days. When calculating margin
interest, free credit balances in all accounts will be offset against any debit in
the margin account and the interest will be charged on the new debit balance.

We are required to report to the Internal Revenue Service all cash dividends
and interest credited to your account on securities held for you in our name.
All dividends and interest credits should be included in your income tax
retum.

information relative to fees and any other charges incurred in connection with
listed option transactions occurring during the month has previously been
furnished to you in confirmatian of such transactions. A summary of the
information will be made available to you promptly upon request. Exercise
assignment notices for option contracts are allocated among customer short
positions pursuant to a manual procedure which randomly selects from
amongst all customer short option positions including those contracts which
are subject to exercise. All short American style option positions are fiable for
assignment at anytime whereas European style options are assigned at
expiration, A more detailed description of our random allocation procedure is
available upon request.

You are to promptly advise Robinhood of any material changes concerning
your investment objectives or financial situation by updating your information
using the Robinhocd platform or by contacting help®robinhood. com.

Our financial statement is available for your personal inspection; it can also
be emailed to you upon request.

RHS is a Member of SIPC, which protects securities customers of its
members up to $500,000 (including $250,000 for claims for cash).
Explanatory brochure available upon request or at www.sipc. org.

Any free credit balances represent funds payable upon demand which,
‘although properly accounted for on our books and records, is not segregated,
and may be used in the conduct of this firm’s business as permissible under

the SEG Rule 15c3-2.

Notice to Customers

RHS acts as clearing agent for your trades. Your account, which was
introduced to us by RHF, is established under your name on a “fully disclosed”
basis at RHS. You remain a customer of RHF.

As required, under SEC rules, both the Firm's Order Routing Report as well as
information regarding specific order routing information is available free of
charge upon request,

As a clearing agent, we provide securities clearance and may provide order
execution based on RHF instructions. RHS will not be invelved with or have
any responsibility for decisions regarding securities transactions in your
account. RHF will be responsible for opening, approving and monitoring alll
activities in connection with your account. The entry of orders and any
instructions regarding the deposit or withdrawal of securities or monies
should be made through RHF.

In addition to the above mentioned services, RHS will provide cashiering
services, safeguarding of funds and securities while in our possession,
monitoring compliance with applicable credit Regulation T and RHS internal
policies, preparing and making accessible your account records {including
transaction confirmations and periodic statements of your account).

The dividend totals reflected in the Income and Expense Summary are
inclusive of both taxable and non-taxable dividends.

Interest charges to your account may be based on the size and net debit
balance during the interest period. These rates are subject to revision without
notice in accordance with any changes in the broker call foan rate, as
published in the Wall Street Journal. For more complete information regarding
interest charges to customers, consult the RHF Fee Schedule, available at
https: //rbnhd.co/fees.

We also offer Robinhood Cash Management as an additional feature of your
account. Robinhoad Cash Management includes debit card access to your
account and automatic sweep of uninvested cash to bank deposits. If you
participate in Robinhood Cash Management, your use of the debit card, and
your rights with respect to debit card transactions, will be governed by the
Robinhood Debit Card Agreement, which has been provided to you and is
available at https://rbnhd.co/debit-card-agreement.

incase of errors or questions about your electronic transfers, including your
debit card transactions, or if you think your statement or receipt is wrong or if
you need more information about a transaction listed on the statement or
receipt, email Robinhood at help@robinhood.com. Robinhood must hear from
you no later than sixty (60) days after you were sent the FIRST statement on
which the problem or error appeared,

A, Tell Robinhood your name and account number.

B. Describe the error or the transfer you are unsure about, and
explain as clearly as you can why you believe it is an error or
why you need more information.

C. Tell Robinhood the dollar amount of the suspected error.

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Robinhood will investigate your complaint and will correct any error promptly.
If we take more than ten (10) business days ta do this, we will credit your
account for the amount you think is in error, so that you will have the use of
the money during the time it takes Robinhood to complete our investigation.

if you participate in Robinhood Cash Management, your uninvested cash is
swept into accounts at FDIC-insured program banks, where your uninvested
cash will earn interest from the program banks and be eligible for FDIC
insurance up to applicable limits, subject to FDIC rules. Please see the
Robinhood Securities, LLG & Robinhood Financial LLC insured Network
Deposit Sweep Program Disclosures, available at https://rbnhd.co/ind-
disclosure, for the terms and conditions of this sweep program, including
information regarding FDIC insurance coverage.

RHF and RHS are members of the Financial |ndustry Regulatory Authority, Inc.
(“FINRA”), and we are required to inform you of the availability of the FINRA
Investor Brochure, which contains information on FINRA BrokerCheck. You
may contact FINRA at 800-289-9999 or via their website www.finra.org.
RHS carries your account and acts as your custodian for funds and securities
deposited with us directly by you, through RHF as a result of transactions we
process to your account. Any suspected inaccuracy or discrepancy in your
account statement must be promptly reported to RHF. In order to protect your
rights, please confirm any oral communications in writing and include your
brokerage account number. General inquiries or concerns regarding your
account should be directed to: help@robinhood.com.

The SEC requires all broker-dealers that route orders in equity securities and
options to make available quarterly reports that present a general overview of
their routing practices. The reports must identify the significant venues to
which customer orders were routed for execution during the applicable
quarter and disclose the material aspects of the broker-dealers relationship
with such venue. In addition, the Rule (SEC 606) requires broker-dealers to
disclose, upon customer request, the venues to which the individual
customer's orders were routed for the six months prior to the request, and
the execution time for the orders that were executed. For further information,
please contact RHF.

Statement of Financial Condition

Robinhood Securities, LLG, audited Statement of Financial Condition as of
December 31, 2020 is available on the Company's website at

www. robinhood.com/legal. A paper copy may be requested at no cost by
calling 1-(800)-282-1327. On December 31, 2020, Robinhood Securities,
LLC. hada net capital of $554,391,618, which was $486,817,019 in excess
of its required net capital of $67,574,599.

PLEASE RETAIN THIS STATEMENT AS IT WILL BE HELPFUL IN PREPARING
YOUR INCOME TAX RETURNS AND MAY BE NEEDED ALONG WITH
SUBSEQUENT STATEMENTS TO VERIFY INTEREST CHARGES IN YOUR
ACCOUNT. THIS STATEMENT SHALL BE DEEMED CONCLUSIVE UNLESS
OBJECTED TOIN WRITING WITHIN 10 BUSINESS DAYS.

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Robinhood #*

85 Willow Rd, Menlo Park, CA 94025 08/01/2021 to 08/31/2021
help@robinhood.com VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, H] 96825

©] Options mg Equities & Cash and Gash Equivalents

Portfolio Allocation

Account Summary Opening Balance Closing Balance
Net Account Balance $12.80 $7.84
Total Securities $26,517.78 $30,246.04 Gash and Cash
& Equivalents
. 0.03%
Portfolio Value ‘ $26,530.58 $30,253.88
. s Equities
99.97%
income and Expense Summary This Period Year to Date  OPtions
. 0.00%
Dividends $0.01 $0.02
Capital Gains Distributions $0.00 $0.00
Interest Earned $0.00 $0.00

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.
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Portfolio Summary

Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
Sree vik oO 0% BNGO Margin 399.791019 $5.83 $2,230.78 $0.00 7.70%
Castor Maritine .
inated Vick 0.00% CTRM Margin 679 $2.30 $1,561.70 $0.00 5.16%
Globalstar GSAT . 8 5
Fechated Yiekd: 0.00% Margin 1,874.914512 $1.99 $3,731.08 $0.00 12.33%
Luokung Technology LKCO Maral 0 9
Eatimated Viele 030% argin 4,051.5694 $1.57 $6,360.96 $0.00 21.03%
st aie 0.00% MARA Margin 66.369241 $40.59 $2,693.93 $0.00 8.90%
ial
Petimated Yield 0.00% MMAT Margin 1,653 $4.65 $7,686.45 $0.00 25.41%
MA eG Got MMAT-A Margin 3,307 $0.01 $33.07 $0.00 0.11%
NiO NIO Margi 9
Nedmated Yieki: 0.00% argin 87.37206 $39.31 $2,648.40 $0.00 8.75%
Bee evel 0.00% NNDM Margin 132.123049 $6.40 $845.59 $0.00 2.79%
Cato cted Yield: 0.91% SIRI Margin 1 $6.27 $6.27 $0.06 0.02%
Sundial Growers SNDL . °
Petimated Yield 0.00% Margin 3,010,781288 $0.78 _ $2,34781 $0.00 7.78%
Total Securities $30,246.04 $0.06 99.97%
é
Brokerage Cash Balance . $7.84 0.03%

Total Priced Portfolio : $30,253.88
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Robinhood #

85 Willow Rd, Menlo Park, CA 94025
help@robinhood.com

.Account Summary
Net Account Balance
Total Securities

Portfolio Value

income and Expense Summary
Dividends
Capital Gains Distributions

Interest Earned

Opening Balance Closing Balance
$2.84 $1.29
$28,563.24 $32,565.34
$28,566.08 $32,566.63

\

This Period Year to Date
$0.00 $0.02
$0.00 $0.00
$0.00 $0.00

m& Options

Portfolio Allocation

i Equities

Page 1 of 4

10/01/2021 to 10/31/2021
VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, HI 96825

& Cash and Cash Equivalents

o

Cash and Cash

Equivalents
0.00%

Equities
100.00%

Options
0.00%

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
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Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
Shed wkd 0 00% BNGO Margin 399.791019 $5.08 $2,030.94 $0.00 6.24%
Castor Maritime . 9
Eatemated Yield. 0.00% CTRM Margin 679 $2.35 $1,595.65 $0.00 4.90%
Globalstar GSAT . 9
Estimated Yield: 0.00% Margin 1,874.914512 $1.65 $3,093.61 $0.00 9.50%
Luokung Technology LKCO Marci 4.051.589 a 9
Estimated Yield: 0:00% argin ,051.5694 $1.23 $4,983.43 $0.00 15.30%
eer athon Mattel 0.00% MARA Margin 66.369241 $52.24 $3,467.13 $0.00 10.65%
Meta Materials MMAT Marai

Estimated Yield: 0.00% argin 1,652.448022 $4.70 $7,766.51 $0.00 23.85%
a teak Goo MMTLP Margin 3,307 $1.28 $4,232.96 $0.00 13.00%

. tenes veniitint ka ae =e saat eatin mn beer 8 eres sr fh cnt pane ewe
NIO :
estimated Yield: 0.00% NIO Margin 6737206 $39.41 $2,655.13 $0.00 8.15%

Nah ote velel 0.00% NNDM Margin 132.123049 $5.88 $776.88 $0.00 2.39%
Bete a Yiekd: 0.96% SIRI Margin 1 $6.09 $6.09 $0.06 0.02%
Sundial Growers . 5
rstimated Vick: 0.00% SNDL Margin 3,010.781288 $0.65 $1,957.01 $0.00 6.01%
Total Securities $32,565.34 $0.06 100.00%
Brokerage Cash Balance $1.29 0.00%

Total Priced Portfolio . $32,566.63
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Robinhood #

85 Willow Rd, Menlo Park, CA 94025 11/01/2021 to 11/30/2021
help@robinhood.com VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, H! 96825

@ Options w Equities @& Cash and Cash Equivalents

Portfolio Allocation

Account Summary Opening Balance Closing Balance
Net Account Balance $1.29 $35.23
Total Securities $32,565.34 $34,236.09 Gash and Gash
© Equivalents
. 0.10%
Portfolio Value $32,566.63 $34,271.32
a Equities
99.90%
Income and Expense Summary This Period Year to Date Options
a
0.00%
Dividends $0.02 $0.04
Capital Gains Distributions $0.00 $0.00

Interest Earned $0.00 $0.00

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.
Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
ath cted Yiskn 6 00% BNGO Margin 772,230304 $3.91 $3,019.42 $0.00 8.81%
Castor Maritime .

Estimated Yield: 0.00% CTRM Margin 3,199.325203 $1.89 $6,046.72 $0.00 17.64%
Globalstar .

Estimated Yield: 0.00% GSAT Margin 1,874.914512 $1.39 $2,606.13 $0.00 760%
Luokung Technology LKCO Maral

Estimated Yield: 0.00% argin 5,685.904697 $0.86 $4,872.68 $0.00 14.22%
Ne ete 0.00%. MMAT Margin 1,776.480608 $3.67 $6,519.68 $0.00 19.02%
MMAT Preferred Shares .

Estimated Wale OoGe MMTLP Margin 3,307 $1.87 $6,184.09 30.00 18.04%
Nane Dimension .

Estimated Yield: 0.00% NNDM Margin 471,901018 $4.79 $2,260.41 30:00 - - 6.60%
Sirius XM .

Estimated Yield: 1.08% SIRI Margin 1 $6.10 $6.10 $0.07 0.02%
Sundial Growers :

Estimated Yield: 0.00% SNDL Margin 4,375,781288 $0.62 $2,720.86 $0.00 794%
Total Securities $34,236.09 $0.07 99.90%
Brokerage Cash Balance $35.23 0.10%

Total Priced Portfolio

$34,271.32
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Account Activity
Description Symbol Acct Type Transaction Date Qty Price Debit Credit
Gold Fee Margin GOLD 11/01/2021 $5.00
Luokung Technology .
CUSIP: GS5898T1I08 LKGO Margin Buy 11/01/2021 1,614,335297 $1.24 $2,000.00
Marathon Digital : ‘
CUSIP: 565788106 MARA Margin Sell 11/01/2021 66.369241 $54.44 $3,613.00
Meta Materials ;
CUSIP: 50134N104 MMAT Margin Buy 11/01/2021 25 $4.91 $122.75
Meta Materials i
CUSIP: 59134N104 MMAT Margin Buy 11/01/2021 99.032586 $4.91 $486.25
Nano Dimension . 74 for ‘ ,
CUSIP: 630086203 NNDM Margin Buy 11/01/2021 0.616919 $6.26 $3.86
Nano Dimension i
CUSIP: 630086203 NNDM Margin Buy 11/01/2021 158.886673 $6.27 $996.14
AGH Deposit Margin ACH 11/09/2021 $5,000.00
AGH Deposit Margin ACH 11/12/2021 $2,000.00
Bionano Genomics .
CUSIP: 09075F107 BNGO Margin Buy 11/09/2021 371.402042 $5.37 $1,994.43
Bionano Genomics .
CUSIP: 09075F107 BNGO Margin Buy 11/09/2021 0.037243 $5.37 $0.20
Bionano Genomics .
CUSIP: 09075F107 BNGO Margin Buy 11/09/2021 1 $5.97 $5.37
Castor Maritime . ‘
CUSIP: YI146L125 CTRM Margin Buy 11/09/2021 813.00813 $2.46 $2,000.00
Sundial Growers .
CUSIP: 86730L109 SNDL Margin Buy 11/09/2021 1,365 $0.70 $952.16
Castor Maritime CTRM Margin Buy 11/12/2021 0.226164 $2.26 $0.51

CUSIP: YI146L125

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Account Activity

Description Symbol Acct Type Transaction Date Qty Price Debit Credit
Castor Maritime . '

CUSIP: YII46L125 CTRM Margin Buy 11/12/2021 798 $2.26 $1,799.49

Castor Maritime lara

CUSIP: YI146L125 CTRM Margin Buy 1/12/2021 0.090909 $2.26 $0.20

Castor Maritime CTRM Margin Bu 11/12/2021 909 $2.26 $2,049.80

CUSIP: YI146L125 g Y . ON.

NIO .

CUSIP: 62914106 NIO Margin Sell 11/12/2021 0,37206 $42.10 $15.67
NiO MIO Margin Sell 11/12/2021 67 $42.11 $2,821.41
CUSIP: 62914V106 9 s . 821,
Nano Dimension . _

CUSIP: 630086203 NNDM Margin Buy 11/12/2021 180.274377 $5.55 $1,000.00

Cash Div: R/D 2021-11-05 P/D 2021-11-29 - 1 shares at 0.021962 SIRI Margin CDIV 11/29/2021 $0.02
Total Funds Paid and Received , $13,416.16 $13,450.10
Executed Trades Pending Settlement

These transactions may not be reflected in the other summaries

Description - Acct Type Transaction Trade Date Settle Date Qty Price Debit Credit

Total Executed Trades Pending Settlement $0.00 $0.00
Robinhood #

85 Willow Rd, Mento Park, CA 94025
help@roebinhood.com

Account Summary
Net Account Balance
Total Securities

Portfolio Value

Income and Expense Summary
Dividends
Capital Gains Distributions

Interest Earned

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Opening Balance

Closing Balance

$95.08 $3.18
$15,501.39 $15,593.77
$15,596.47 $15,596.95
This Period Year to Date
$0.00 $0.00
$0.00 $0.00
$0.00 $0.00

& Options

Portfolio Allocation

m Equities

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12/01/2023 to 12/31/2023
VENELIN STEFANOY Account #:682909759
7035 Kamilo St, Honolulu, HI 96825

@ Gash and Cash Equivalents

Cash and Cash Equivalents
0.02%

Equities
99.98%

Options
0.00%

This statement shali be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.

Robinhood Securities, LLC (“RHS”) carries your account as the clearing broker by arrangement with your introducing broker-dealer, Robinhood Financial LLC (“RHF”).

RHS is a Member of SIPC, which protects securities customers of its members up to $500,000 (including $250,000 for claims for cash). Explanatory brochure available upon request or at www.sipc.org. 3132498
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Portfolio Summary
Securities Held in Account Sym/Cusip <AcctType Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
AMC Entertainment AMC Margin 0.113333 $6.12 $0.69 $0.00 0.00%
Estimated Yield: 0.00%
Arrival ARVL Margin 1 $1.14 $1.14 $0.00 0.01%
Estimated Yield: 0.0096
VINCO VENTURES INC BBIG Margin 1 $0.01 $0.01 $0.00 0.00%
Estimated Yield: 0.00%
Bionano Genomics BNGO Margin 0.02303 $1.89 $0.04 $0.00 0.00%
Estimated Yield: 0.00%
Biotricity BTCY Margin 2 $1.15 $2.30 $0.00 0.01%
Estimated Yield: 0.00%
Cosmos Health COSM Margin 3 $1.41 $4.23 $0.00 0.03%
Estirnated Yield: 0.00%
Castor Maritime CTRM Margin 0.325203 $0.42 $0.14 $0.00 0.00%
Estimated Yield: 0.00%
FingerMotion FNGR Margin 10 $4.02 $40.20 $0.00 0.26%
Estimated Yield: 0.00%
GameStop GME Margin 9 $17.53 $157.77 $0.00 1.0196
Estimated Yield: 0.00%
Genius Group GNS Margin 11 $0.65 $7.16 $0.00 0.05%
Estimated Yield: 0.00%
AMTD Digital Inc. American Depositary Shares (every five of which represent two Class A Ordinary Shares) HKD Margin 1 $4.17 $4.17 $0.00 0.03%
Estimated Yield: 0.00%
Luokung Technology LKCO Margin 1 $0.49 $0.49 $0.00 0.00%
Estimated Yield: 0.00%
MICROMOBILITY.COM MCOM Margin 1 $0.07 $0.07 $0.00 0.00%
Estimated Yield: 0.00%
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Portfolio Summary
Securities Held In Account Sym/Cusip AcctType Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
Meta Materials - MMAT Margin 232,900.777937 $0.07 $15,371.45 $0.00 98.55%
Estimated Yield: 0.00%
Next Bridge Hydrocarbons Contra MMTZZZ Margin 3,303.598639 $0.00 $0.00 $0.00 0.00%
Estimated Yield: 0.00%
Nano Dimension Margin 0.901018 $2.40 $2.16 $0.00 0.01%
Estimated Yield: 0.00%
Ring Energy REI Margin 1 $1.46 $1.46 $0.00 0.01%
Estimated Yield: 0.00%
SNDL SNDL Margin 0.078129 $1.64 $0.13 $0.00 0.00%
Estimated Yield: 0.00%
Tore TORO Margin 0.03252 $4.92 $0.16 $0.00 0.00%
Estimated Yield: 0.00%
Total Securities $15,593.77 $0.00 99.98%
Brokerage Cash Balance $3.18 0.02%
Total Priced Portfolio $15,596.95
we

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Account Activity
Description Symbol Acct Type Transaction Date Qty Price Debit Credit
micromobility.com Margin SPR 12/04/2023 1S
CUSIP: 42309B402
ACH Deposit Margin ACH 12/04/2023 $5,000.00
MICROMOBILITY.COM Margin SPR 12/06/2023 1
CUSIP: 42309B600
Meta Materials MMAT Margin Buy 12/04/2023 §0,000 $0.07 $3,645.00
CUSIP: 59134N104
ACH Reversal Margin ACH 12/07/2023 $5,000.00
Meta Materials MMAT Margin Buy 12/05/2023 300 $0.07 $21.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 100 $0.07 $7.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 200 $0.07 $14.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/08/2023 300 $0.07 $21.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 100 $0.07 $7.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 3,500 $0.07 $245.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 100 $0.07 $7.00
CUSIP: 59134N104
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Account Activity
Description Symbol Acct Type Transaction Date Qty Price - Debit Credit
Meta Materials MMAT Margin Buy 12/06/2023 3,500 $0.07 $245.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 300 $0.07 $21.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 100 $0.07 $7.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 2,000 $0.07 $140.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/08/2023 100 $0.07 $7.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/08/2023 2,000 $0.07 $140.00.
CUSIP: 59134N104
Meta ‘Materials MMAT Margin Buy 12/05/2023 100 $0.07 $7.00
CUSIP: 59134N104 :
Meta Materials MMAT Margin Buy 12/05/2023 1,100 $0.07 $77.00
CUSIP; 59134N104
Meta Materials | MMAT Margin Buy 12/05/2023 100 $0.07 “$7.00
CUSIP: 59134N104 ‘ “ oo :
Meta Materials MMAT Margin Buy 12/08/2023 300 $0.07 $21.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 4,400 $0.07 $308.00
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 12/05/2023 2,000 $0.07 $139.90

CUSIP: 59134N104

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Account Activity
Description Acct Type Transaction Date Qty Price Debit Credit
ACH Deposit Margin ACH 12/07/2023 $5,000.00
Gold Subscription Fee Margin GOLD 12/21/2023 $5.00
Mullen Automotive Margin SPR 12/21/2023 5S
CUSIP: 62526P307
Total Funds Paid and Received $10,091.90 $10,000.00
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Executed Trades Pending Settlement
These transactions may not be reflected in the other summaries
Description Acct Type Transaction Trade Date Settle Date Qty Price Debit Credit
$0.00 $0.00

Total Executed Trades Pending Settlement
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important Information

lf this is a margin account and we maintain a special miscellaneous account
for you, this is a combined statement of your general account and special
miscellaneous account maintained for you under Regulation T issued by the
Board of Governors of the Federal Reserve System. The permanent record of
the special miscellaneous account as required by Regulation T is available for
your inspection at your request.

The per annum rate of interest charged on debit balances in your account
may change from time to time in accordance with fluctuations in interest
rates. Interest is computed from the ist day of the month to the last day of
the month. The interest is based on the average daily balance in your account
with us, and for the actual number of days based on an interest year of 360
days. When calculating margin interest, free credit balances in all accounts
will be offset against any debit in the margin account and the interest will be
charged on the new debit balance.

We are required to report to the Internal Revenue Service all cash dividends
and interest credited to your account on securities held for you in our name.
Ali dividends and interest credits should be included in your income tax
return.

Information relative to regulatory trading/transaction fees and any other
charges incurred in connection with equity or listed option transactions
occurring during the month has previously been furnished to you in
confirmation of such transactions, A surnmary of the information will be made
available to you promptly upon request. Exercise assignment notices for
option contracts are allocated among customer short positions pursuant to a
manual procedure which randomly selects from amongst all customer short
option positions including those contracts which are subject to exercise. All
short American style option positions are liable for assignment at any time
whereas European style optians are assigned at expiration. A more detailed
description of our random allocation procedure is available upon request.

You are to promptly advise Robinhood of any material changes cancerning
your investment objectives or financial situation by updating your information
using the Robinhood platform or by contacting help@rabinhood.com,

Any free credit balances represent funds payable upon demand which,
although properly accounted for on our books and records, is not segregated,
and may be used in the conduct of this firm’s business as permissible under
the SEC Rule 15c3-2.

RHS acts as clearing agent for your trades. Your account, which was
introduced to us by RHF, is established under your name on a “fully
disclosed” basis at RHS. You remain a customer of RHF.

Notice to Customers

As required, under SEC rules, both the RHF and RHS Order Routing Reports as
well as information regarding specific order routing information is available
free of charge upon request.

As aclearing agent, RHS provides securities clearance and may provide order
execution based on RHF instructions. RHS will not be involved with or have
any responsibility for decisions regarding securities transactions in your
account. RHF will be responsible for opening, approving and monitoring all
activities in connection with your account. The entry of orders and any
instructions regarding the deposit or withdrawal of securities or monies
should be made through RHF.

tn addition to the above mentioned services, RHS will provide cashiering
services, safeguarding of funds and securities while in our possession,
monitoring compliance with applicable credit Regulation T and RHS internal
policies, preparing and making accessible your account records (including
transaction confirmations and periodic statements of your account).

The dividend totals reflected in the Income and Expense Summary are
inclusive of both taxable and non-taxable dividends.

Interest charges to your account may be based on the size and net debit
balance during the interest period. These rates are subject to revision with
appropriate notice. For more complete information regarding interest charges
to customers, consult the RHF Fee Schedule, available at https://rbnhd.co
/fees.

We also offer Robinhood Cash Management as an additional feature of your
account. Robinhood Cash Management includes debit card access to your
account and automatic sweep of uninvested cash to bank deposits. If you
participate in Robinhood Cash Management, your use of the debit card, and
your rights with respect to debit card transactions, will be governed by the
Robinhood Debit Card Agreement, which has been provided to you and is
available at https://rbnhd.co/debit-card-agreement. .

In case of errors of questions about your electronic transfers, including your
debit card transactions, or if you think your statement or receipt is wrong or if
you need more information about a transaction listed on the statement or
receipt, email RHF or RHS at help@robinhood.com. RHF must hear from you
no later than sixty (60) days after you were sent the FIRST statement on
which the problem or error appeared.

A. Tell RHF your name and account number.

B. Describe the error or the transfer you are unsure about, and
explain as clearly as you can why you believe it is an error or
why you need more information.

C. Tell RHF the dollar amount of the suspected error.

Page Sof 8

RHF will investigate your complaint and will correct any error promptly. if we
take more than ten (10) business days to do this, RHF will credit your account
for the amount you think is in error, so that you will have the use of the money
during the time it takes RHF to complete our investigation.

Please see the Robinhood Securities, LLC & Robinhood Financial LLC insured
Network Deposit Sweep Program Disclosures, available at https://rbnhd.co
/ind-disclosure, for the terms and conditions of the sweep program, including
information regarding FDIC insurance coverage.

RHF and RHS are members of the Financial Industry Regulatory Autharity, Inc.
(“FINRA”), and we are required to inform you of the availability of the FINRA
investor Brochure, which contains information on FINRA BrokerGheck. You
may contact FINRA at 800-289-9999 or via their website www.finra.org. RHS
carries your account and acts as your custodian for funds and securities
deposited with us directly by you, through RHF as a result of transactions we
process ta your account. Any suspected inaccuracy or discrepancy in your
account statement must be promptly reported to RHF. in order to protect your
rights, please confirm any oral communications in writing and include your
brokerage account number. General inquiries or concerns regarding your
account should be directed to: help@robinhood.com.

The SEC requires all broker-dealers that route orders in equity securities and
options to make available quarterly reports that present a general overview of
their routing practices. The reports must identify the significant venues to
which customer orders were routed for execution during the applicable
quarter and disclose the material aspects of the broker-dealers relationship
with such venues. In addition, the Rule (SEC Rule 606) requires broker-
dealers to disclose, upon customer request, the venues to which the
individual customer's orders were routed for the six months prior to the
request, and the execution time for the orders that were executed. For
further information, please contact RHF.

All trade confirmations are transmitted on or about the transaction date.

Statement of Financial Condition

Robinhood Securities, LLC. Unaudited Statement of Financial Condition as of
June 30, 2023 is available on the Company's website at www.robinhaod.com
/legal. A paper copy may be requested at no cost by calling 1-(800)-282-
1327. On June 30, 2023, Robinhood Securities, LLC. had a net capital of
$2,638,629,775, which was $2,567,658,638 in excess of its required net
capital of $70,971,137.

Please retain this statement as it will be helpful in preparing your income tax
returns and may be needed along with subsequent statements to verify
interest charges in your account. This statement shall be deemed conclusive
unless objected to in writing within ten (10) days. 3132498
Robinhood #

85 Willow Rd, Menlo Park, CA 94025
help@robinhood.com

Account Summary
Net Account Balance
Total Securities

Portfolio Value

Income and Expense Summary
Dividends
Capital Gains Distributions

Interest Earned

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Opening Balance

Closing Balance

$3.18 $2.14
$15,593.77 $9,072.22
$15,596.95 $9,074.36
This Period Year to Date
$0.00 $0.00
$0.00 $0.00
$0.00 $0.00

& Options

Portfolio Allocation

m@ Equities

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01/01/2024 to 01/31/2024
VENELIN STEFANOV Account #:682909759
7035 Kamilo St, Honolulu, HI 96825

m Cash and Cash Equivalents

Cash and Cash Equivalents
0.02%

Equities
99.98%

Options
0.00%

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.

Robinhood Securities, LLC (“RHS") carries your account as the clearing broker by arrangement with your introducing broker-dealer, Robinhood Financial LLC (“RHF”).

RHS is a Member of SIPC, which protects securities customers of its members up to $500,000 (including $280,000 for claims for cash). Explanatory brochure available upon request or at www.sipc.org. : 3357671
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Estimated Yield: 0.00%

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Portfolio Summary
Securities Held in Account Sym/Cusip AcctType Qty Price Mkt Value —_ Est. Dividend Yield % of Total Portfolio
AMC Entertainment AMC Margin 0.113333 $4.05 $0.46 $0.00 0.01%
Estimated Yield: 0.00%
ARRIVAL . ARVLF Margin 1 $0.30 $0.30 $0.00 0.00%
Estimated Yield: 0.00%
VINCO VENTURES ING BBIG Margin 1 $0.01 $0.01 $0.00 0.00%
Estimated Yield: 0.00%
Bionano Genomics BNGO Margin 0.02303 $1.18 $0.03 $0.00 0.00%
Estimated Yield: 0.00%
Biotricity BTCY Margin 2 $0.86 $1.72 $0.00 0.02%
Estimated Yield: 0.00%
Cosmos Health COSM Margin 3 $1.06 $3.19 $0.00 0.04%
Estimated Yield: 0.00%
Castor Maritime CTRM Margin 0.325203 $0.49 $0.16 $0.00 0.00%
Estimated Yield: 0.00% :
FingerMation FNGR Margin 10 $2.37. $23.70 $0.00 0.26%
Estimated Yield: 0.00%
GameStop GME Margin 9 $14.23 $128.07 $0.00 141%
‘Estimated Yield: 0.00%
Genius Group GNS Margin $0.38 $4.21 $0.00 0.05%
Estimated Yield: 0.00%
AMTD Digital Inc. American Depositary Shares (every five of which represent two Class A Ordinary Shares) HKD Margin 1 $4.01 $4.01 $0.00 0.04%
Estimated Yield: 0.00%
Luokung Technology LKCO Margin 1 $0.43 $0.43 $0.00 0.00%
Estimated Yield: 0.00%
MICROMOBILITY.COM MCOM Margin 1 $0.02 $0.02 $0.00 0.00%
Portfolio Summary

Securities Held In Account

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Meta Materials
Estimated Yield: 0.00%

Next Bridge Hydrocarbons Contra

Estimated Yield: 0.00%

Ring Energy
Estimated Yield: 0.00%

SNDL
Estimated Yield: 0.00%

Sym/Cusip AcctType Qty Price Mkt Value — Est. Dividend Yield % of Total Portfolio
MMAT Margin 2,331 $3.82 $8,904.42 $0.00 98.13%
" yarzzz Margin. =«f.008.808609 $0.00 $000 $000 000%
— REI — Margin — 1 ‘g1.39  §1.30 $0.00 - ~ o.02% —
: SNL — Margin — 0.078129 ~ gi.33 $0.10 $0.00 0.0096

Total Securities

Brokerage Cash Balance

$9,072.22 $0.00 99.98%

$2.14 0.02%

Total Priced Portfolio

$9,074.36
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Account Activity
Description Symbol Acct Type Transaction Date Oty Price Debit Credit
Mullen Automotive Margin SPR 01/03/2024 1
CUSIP: 62526P406
ADR Fee: R/D 2023-12-04 P/D 2024-01-12 - 0.901018 shares at 0.02 NNDM Margin AFEE 01/12/2024 $0.02
Gold Subscription Fee Margin GOLD 01/22/2024 $5.00
Mullen Automotive MULN Margin Sell 01/23/2024 1 $7.08 $7.08
CUSIP: 62526P406
Meta Materials MMAT., Margin Buy 01/26/2024 50 $0.05 $2.61
CUSIP: 59134N104
Meta Materials MMAT Margin Buy 01/25/2024 55 $0.05 $2.78
CUSIP: 59134N104
Meta Materials Margin SPR 01/29/2024 233,005.777937S
CUSIP: 59134N104
Meta Materials Margin SPR 01/29/2024 2,330
CUSIP: 59134N3602
Nano Dimension NNDM Margin Sell 01/26/2024 0.901018 $2.33 $2.10
CUSIP: 630086203
Toro TORO Margin Sell 01/25/2024 0.03252 $5.72 $0.19
CUSIP: Y8900D108
Meta Materials Margin SPR 01/31/2024 1 .

CUSIP: 59134N302

Total Funds Paid and Received

$10.41 $9.37
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Executed Trades Pending Settlement
These transactions may not be reflected in the other summaries
Description Acct Type Transaction Trade Date Settle Date Qty Price Debit Credit
$0.00 $0.00

Total Executed Trades Pending Settlement
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Important information

if this is a margin account and we maintain a special miscellaneous account
for you, this is a combined statement of your general account and special
miscellaneous account maintained for you under Regulation T issued by the
Board of Governors of the Federal Reserve System. The permanent record of
the special miscellaneous account as required by Regulation T is available for
your inspection at your request.

The per annum rate of interest charged on debit balances in your account
may change from time to time in accordance with fluctuations in interest
rates. Interest is computed from the ist day of the month to the last day of
the month. The interest is based on the average daily balance in your account
with us, and for the actual number of days based on an interest year of 360
days. When calculating margin interest, free credit balances in all accounts

charged on the new debit balance,

We are required to report to the Internal Revenue Service all cash dividends
and interest credited to your account on securities held for you in our name.
All dividends and interest credits should be included in your income tax

return. The dividend totals reflected in the Income and Expense Summary are
inclusive of both taxable and non-taxable dividends.

Information relative to regulatory trading/transaction fees and any other
charges incurred in connection with equity or listed option transactions
occurring during the month has previously been furnished to you in

available to you promptly upon request. Exercise assignment notices for

Notice to Customers

As required, under SEC rules, both the RHF and RHS Order Routing Reports as
well as information regarding specific order routing information is available
free of charge upon request.

As a clearing agent, RHS provides securities clearance and may provide order
execution based an RHF instructions. RHS will not be involved with or have
any responsibility for decisions regarding securities transactions in your
account. RHF will be responsible for opening, approving and monitoring all
activities in connection with your account. The entry of orders and any
instructions regarding the deposit or withdrawal of securities or monies
should be made through RHF.

will be offset against any debit in the margin account and the interest will be [In addition to the above mentioned services, RHS will provide cashiering
services, safeguarding of funds and securities while in our possession,
monitoring compliance with applicable credit Regulation T and RHS internal
policies, preparing and making accessible your account records (including
transaction confirmations and periodic statements of yaur account).

Interest charges to your account may be based on the size and net debit
balance during the interest period. These rates are subject to revision with
confirmation of such transactions, A summary of the information willbe made appropriate notice. For more complete information regarding interest charges
to customers, consult the RHF Fee Schedule, available at https://rbnhd.co

option contracts are allocated among customer short positions pursuant toa /fees.

manual procedure which randomly selects from amongst all customer short

option positions including those contracts which are subject to exercise. All We also offer Robinhood Cash Management as an additional feature of your
account. Robinhood Cash Management includes debit card access to your

whereas European style options are assigned at expiration. Amore detailed | account and automatic sweep of uninvested cash to bank deposits. If you
participate in Robinhood Cash Management, your use of the debit card, and
your rights with respect to debit card transactions, will be governed by the
Robinhood Debit Card Agreement, which has been provided to you and is

short American style option positions are liable for assignment at any time

description of our random allocation procedure is available upon request.

You are to promptly advise Robinhood of any material changes concerning

your investment objectives or financial situation by updating your information available at https://rbnhd.co/debit-card-agreement.

using the Robinhood platform or by contacting help@robinhood.com.

In case of errors or questions about your electronic transfers, including your
debit card transactions, or if you think your statement or receipt is wrong or if
although properly accounted for on our books and records, is not segregated, you need more information about a transaction listed on the statement or
and may be used in the conduct of this firm’s business as permissible under receipt, email RHF or RHS at help@robinhood.com. RHF must hear from you
no later than sixty (60) days after you were sent the FIRST statement on
which the problem or error appeared.

Any free credit balances represent funds payable upon demand which,

the SEC Rule 15c3-2.

RHS acts as clearing agent for your trades. Your account, which was
introduced to us by RHF, is established under your name on a “fully A

. Tell RHF your name and account number. °
disclosed” basis at RHS. You remain a customer of RHF. B.

Describe the error or the transfer you are unsure about, and
explain as clearly as you can why you believe it is an error or
why you need more information.

. Tell RHF the dollar amount of the suspected error,

Page 6 of 7

RHF will investigate your complaint and will correct any error promptly. if we
take more than ten (10) business days to do this, RHF will credit your account
for the amount you think isin error, so that you will have the use of the money
during the time it takes RHF to complete our investigation.

Please see the Robinhood Securities, LLC & Robinhood Financial LLG Insured
Network Deposit Sweep Program Disclosures, available at https://rbnhd.co
/ind-disclosure, for the terms and conditions of the sweep program, including
information regarding FDIC insurance coverage.

RHF and RHS are members of the Financial Industry Regulatory Authority, Inc.
(“FINRA”), and we are required to inform you of the availability of the FINRA
Investor Brochure, which contains information on FINRA BrokerCheck. You
may contact FINRA at 800-289-9999 or via their website www.finra.org. RHS
carries your account and acts as your custodian for funds and securities
deposited with us directly by you, through RHE as a result of transactions we
process to your account. Any suspected inaccuracy or discrepancy in your
account statement must be prompily reported to RHF. In order to protect your
tights, please confirm any oral! communications in writing and include your
brokerage account number. General inquiries or concerns regarding your
account should be directed to: help@rebinhood.com.

The SEC requires all broker-dealers that route orders in equity securities and
options to make available quarterly reparts that present a general overview of
their routing practices. The reports must identify the significant venues to
which customer orders were routed for execution during the applicable
quarter and disclose the material aspects of the broker-dealers relationship
with such venues. in addition, the Rule (SEC Rule 606) requires broker-
dealers to disclose, upon customer request, the venues to which the
individual customer’s orders were routed for the six months prior to the
request, and the execution time for the orders that were executed. For
further information, please contact RHF.

All trade confirmations are transmitted on or about the transaction date.

Statement of Financial Condition

Robinhood Securities, LLC. Unaudited Statement of Financial Condition as of
June 30, 2023 is available on the Company's website at www.robinhood.com
Alegal. A paper copy may be requested at no cost by calling 1-(800)-282-
1327. On June 30, 2023, Robinhood Securities, LLC. had a net capital of
$2,638,629,775, which was $2,567,658,638 in excess of its required net
capital .of $70,971,137.

Please retain this statement as it wiit be helpful in preparing your income tax
returns and may be needed along with subsequent statements to verify
interest charges in your account. This statement shall be deemed conclusive
unless objected to in writing within ten (10) days. 3357671
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Please Read: Important Account Notices and Updates

Last month’s statement (for activity during the month of December) omitted a disclosure informing customers that the interest rate for Robinhood Gold subscribers enrolled in the boosted rate
promotion for the brokerage cash sweep program was 5.25%. This disclosure appears on this month’s statement on Page 1, and will continue to appear until the promotion ends. 3357671
Robinhood #

85 Willow Rd, Menlo Park, CA 94025
help@robinhood.com

Account Summary
Net Account Balance
Total Securities

Portfolio Value

Income and Expense Summary
Dividends
Capital Gains Distributions

Interest Earned

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Opening Balance

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11/01/2024 to 11/30/2024

Venelin Stefanov Account #:682909759
7035 Kamilo St, Honoiulu, Hl 96825

Portfolio Allocation
Clesing Balance

$0.94 $3.95
Cash and Cash Equivalents

$2,969.06 $161.51 2.39%
Equities

$2,970.00 $165.46 a 97.61%
Options
0.00%

This Period Year to Date

$0.00 $0.21

$0.00 $0.00

$0.00 $0.00

This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.

Robinhood Securities, LLC (“RHS”) carries your account as the clearing broker by arrangement with your introducing broker-dealer, Robinhood Financial LLC (“RHF”).

RH& is a Member of SIPC, which protects securities customers of its members up to $500,000 (including $250,000 for claims for cash). Explanatory brochure available upon request or at www.sipc.org. 3840999
Portfolio Summary

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Securities Held in Account Sym/Cusip Acct Type Qty Price Mkt Value Est. Dividend Yield % of Total Portfolio
AMC Entertainment . 5
Estimated Yield: 0,00% AMC Margin 0.113333 $4.9500 $0.56 $0.00 0.34%
ARRIVAL . ‘ .
Estimated Yield: 0.00% ARVLF Margin 1 $0.0500 $0.05 $0.00 0.03%
VINGO VENTURES ING . . 5
Estimated Yield: 0.00% BBIG Margin 1 $0.0004 $0.01 $0.00 0.00%
Genius Group . 9
Estimated Yield: 0.00% GNS Margin 14 $0.7384 $0.81 $0.00 0.49%
Meta Materials MMAT@ Margin 2,624.255476 $0.0610 $160.08 $0.00 96.75%
Estimated Yield: 0.00% _— ‘ . . .
Next Bridge Hydrocarbons Contra , . 6
Estimated Yield: 0.00% MMTZZZ Margin 303.598639 $0.0000 $0.00 $0.00 0.00%
Total Securities $161.51 $0.00 97.61%
Brokerage Cash Balance $3.95 2.39%

Total Priced Portfolio

$165.46
